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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


  KEDRIC CRAWFORD,                            §
  PLAINTIFF,                                  §
                                              §          CASE NO: 4:20-cv-03003
  V.                                          §           JURY DEMANDED
                                              §
  CITY OF BAYTOWN, ET AL.,                    §
  DEFENDANTS                                  §


  AMENDED NOTICE OF VOLUNTARY DISMISSAL OF CLAIMS AGAINST
   DEFENDANT CITY OF BAYTOWN PURSUANT TO RULE 41(a) (1)(A)(i)



        Plaintiff, Kedric Crawford ("Plaintiff") files this his self-effectuating aMotion for

Voluntary Dismissal without prejudice under Federal Rule of Civil Procedure 41(a) (1)(A)(i)

terminating Claims against Defendants, City of Baytown and notices the following:


1. Plaintiff is Kedric Crawford; Defendants are the City of Baytown and Teddy Sims.

2. On June 22, 2020, Plaintiff filed his Original Petition alleging causes of action against the

Defendants as a result of Constitutional violations involving the wrongful arrest and

excessive force against Plaintiff.

3. The defendant has not filed an answer in this case.
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4.Plaintiff wishes to dismiss his claims against the Defendant City of Baytown.



Plaintiff is requesting the court recognize the FRCP Rule 41(a)(1)(A)(i) voluntary dismissal

of his terminating claims Defendant, City of Baytown with an order reflecting the same.



                                               Respectfully submitted,
                                               THE LEWIS LAW GROUP, PLLC.
                                               BY: /​s/ U.A. Lewis
                                               U.A. Lewis
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                                               LEAD ATTORNEY FOR THE PLAINTIFF

                                  CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing instrument has been sent to all interested parties and

counsel of record via the electronic filing system, email, first-class mail, or facsimile on this

March 3, 2021.


     /s/ U. A. Lewis
      U.A. Lewis
